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              IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


United States of America




                 Plaintiff(s),

                        v.                                 (CIVIL)(CRIMINAL) NO:
                                                           Criminal                               3:21-MJ-138
Jonathan Toebbe
Diana Toebbe


                Defendant(s).

                                  '(3$570(172)-867,&(
                          APPLICATION FOR ADMISSION PRO HAC VICE
         I verify that I have fully complied with Local Rule of General Practice and Procedure 83.02 as
it relates to admission to practice pro hac vice.

Jessica Lieber Smolar                                            United States of America

               Applicant’s Name                                               Representing (Party Name)

U.S. Attorneys Office for the Western District of Pennsylvania   700 Grant Street, Suite 4000, Pittsburgh, PA 15219

                  Name of Firm                                                       Office Address

(412) 894-7419

          Office Telephone Number                                                  Office Fax Number

___________________________________
Jessica.Smolar@usdoj.gov
              E-mail Address

Name, Address, and Telephone Numbers of State Bars in which admitted:

Pennsylvania Bar (Number 65406), 601 Commonwealth Ave., Suite 3600, Harrisburg, PA 17106, (717) 231-3350




List all matters before West Virginia tribunals or judicial bodies in which the applicant is or has been
involved in the preceding twenty-four (24) months:

N/A




       PROVIDE ATTACHMENT WITH ADDITIONAL INFORMATION IF NECESSARY
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All matters before West Virginia tribunals or judicial bodies in which any member of applicant’s firm,
partnership or corporation is or has been involved in the preceding twenty-four (24) months:
N/A

      PROVIDE ATTACHMENT WITH ADDITIONAL INFORMATION IF NECESSARY

         I understand that admission to practice pro hac vice will result in my registration in the Case
Management/Electronic Case Filing system. By this registration, I agree to abide by the requirements
set forth in the Federal Rules, Federal Statutes and the Local Rules, Administrative Orders, procedures
and policies of the United States District Court for the Northern District of West Virginia. (See
https://racerweb.wvnd.uscourt.gov for further information).
         I understand that attorneys admitted pro hac vice will have privileges to view official docket
sheets and documents associated with cases and query case reports for cases on the CM/ECF system
using the Court-assigned read only login and password, and that I must submit all filings electronically
through local counsel. Registration constitutes my consent to service by electronic means pursuant
to the Federal Rules.
         I understand that as a lawyer employed by the Department of Justice, I am exempt from paying
the fee payable to the Clerk of the Court of the United States District Court for the Northern District
of West Virginia, that is normally required for pro hac vice applications.
         I certify that the foregoing application is true and correct. I hereby represent that I am a
member in good standing with the bar of every jurisdiction in which I am admitted and my privileges
to practice law and my membership in any bar association have never been amended, modified,
suspended, revoked or otherwise limited in any way in any court, district, state, commonwealth or other
jurisdiction. I also certify that I have never been convicted of a felony. I agree to comply with all laws,
rules, and regulations of the United States Courts where applicable.

        If unable to make the above representation, please attach an explanation.
                                                   V-HVVLFD/LHEHU6PRODU
                                                                   Signature of Applicant
Jarod J. Douglas                                  U.S. Attorney's Office
  Name of Responsible Local Attorney                                  Name of Firm
(304) 234-0100                                    Federal Courthouse, 1125 Chapline Street, Wheeling, WV 26003

          Office Telephone Number                                      Office Address
Jarod.J.Douglas@usdoj.gov
___________________________________
         E-mail Address

        Pursuant to Local Rule of General Practice and Procedure 83.02, I have read the foregoing
application and, by my endorsement hereon, agree to be a responsible local attorney in the above-styled
matter. I further certify that I am an active member in good standing of the West Virginia Bar and that
I maintain an actual office in West Virginia from which I practice law on a daily basis.



                                                       V-DURG-'RXJODV
                                                          Signature of Responsible Local Attorney
